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9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
     SOUTHWEST REGIONAL COUNCIL OF ) Case No. 2:14-CV-02762 JVS (JCx)
12   CARPENTERS, an unincorporated    )
     association,                     ) AMENDED JUDGMENT
13                                    )
                         Plaintiff,   ) Honorable James V. Selna
14                                    )
                   v.                 )
15                                    )
     MICHAEL McCARRON, an individual, )
16                                    )
                         Defendant.   )
17                                    )
                                      )
18                                    )
     AND RELATED COUNTERCLAIMS        ) Pretrial Conf.:  Not Set
19   AND THIRD-PARTY CLAIM.           ) Trial Date:      Not Set
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     [PROPOSED] JUDGMENT                                    CASE NO. 2:14-CV-02762 JVS (JCx)
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1             For the reasons so stated in its orders:
2             (1)   The Court hereby enters judgment in favor of Defendant Michael McCarron,
3    also known as William Michael McCarron, and against Plaintiff Southwest Regional
4    Council of Carpenters. Although Plaintiff Southwest Regional Council of Carpenters
5    established liability on its sole remaining claim under Section 501(a) of the Labor
6    Management Reporting and Disclosure Act (29 U.S.C. § 501(a)), Plaintiff Southwest
7    Regional Council of Carpenters sustained no damages. Defendant Michael McCarron,
8    also known as William Michael McCarron, is the prevailing party on this claim.
9             (2)   The Court hereby enters judgment in favor of Counterdefendant Southwest
10   Regional Council of Carpenters against Counterclaimant Michael McCarron, also known
11   as William Michael McCarron, on all counterclaims. Counterclaimant shall take nothing.
12            (3)   The Court hereby enters judgment in favor of Third-Party Defendant
13   DeCarlo & Shanley, A Professional Corporation against Third-Party Plaintiff Michael
14   McCarron, also known as William Michael McCarron, on all third-party claims. Third-
15   Party Plaintiff shall take nothing.
16            (4)   Plaintiff/Counterdefendant Southwest Regional Council of Carpenters and
17   Third-Party Defendant DeCarlo & Shanley are prevailing parties and shall recover their
18   costs.
19            (5)   This certified final judgment ends all claims, counterclaims, and third-party
20   claims among the Southwest Regional Council of Carpenters, DeCarlo & Shanley, A
21   Professional Corporation, and Michael McCarron, also known as William Michael
22   McCarron.
23            IT IS SO ORDERED.
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     DATED: January 04, 2019
25                                              Hon. James V. Selna
                                                United States District Judge
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     [PROPOSED] JUDGMENT                                 1             CASE NO. 2:14-CV-02762 JVS (JCx)
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     [PROPOSED] JUDGMENT                    2              CASE NO. 2:14-CV-02762 JVS (JCx)
